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 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                                 )   CR-19-367-9 CRB
11                                                             )
                                  Plaintiff,                   )   SENTENCING MEMO OF
12                                                             )   GUSTAVO GAMEZ-VELASQUEZ;
              v.                                               )   REQUEST FOR VARIANCE
13                                                             )
     GUSTAVO GAMEZ-VELASQUEZ,                                  )   Date: March 11, 2020
14                                                             )   Time: 9:30 a.m.
                                Defendant.                     )
15                                                             )   HON. CHARLES R. BREYER

16                 I.     Background

17                 On February 12, 2020, Defendant Gustavo Gamez-Valesquez (“Gustavo”) plead guilty to
18   a single count of 21 U.S.C. §843(b), Illegal Use of a Communication Facility. Gustavo has been in

19   custody for a little over 7 months. His criminal history category is I. The total agreed offense level is

20   19, with the parties agreeing to disagree as to the “role in the offense” adjustment under U.S.S.G.

21   §3B1.2. That is, the government argues for a “minor” role adjustment to a final total offense level of

22   17, with a guideline range of 24-30 months. The defense believes Gustavo is more accurately assigned

23   a “minimal” role in the overall conspiracy, for a final total offense level of 15, with a guideline range

24   of 18-24 months. If the Court decides to grant a variance, the government is asking for a variance to a

25   sentence of 13 months (of which Gustavo would actually serve about 11 months), while the defense

26   requests the Court sentence Gustavo to time served of 7 months.
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 1                II.     Argument

 2                The plea agreement fairly characterizes Gustavo as a street level dealer who was “required

 3   to sell drugs” on behalf of his landlord in order to pay his rent. The government has supplied the Court

 4   with a list of the defendants in this case. Gustavo appears in the bottom four of the list. Over a 15

 5   month period, he is heard on wiretaps making 11 total requests for a street level quantities of drugs. In

 6   that period of time, the government claims Gustavo was responsible for distributing a total of about 2

 7   ounces of meth and 3 ounces of cocaine base.

 8                Gustavo is Honduran. When he came to this country, he was without housing. He has

 9   three children and a wife to support. In Honduras, Gustavo made about $1.50/hour. Working 12 hours

10   days, 6 days a week, he would bring home about $400/month as a construction worker in his village.

11   It is obvious he came here, in part, to earn money to send home to his family.

12                He was offered housing with a catch. He must sell drugs to pay for the rent. Gustavo did

13   so, but, from the wiretaps, he did so rarely, making just 11 calls in 15 months for street level amounts

14   of drugs, that is, bags sold on the street in the $20-$40 a bag range. Under any scenario, Gustavo was

15   had a “minimal” role in this drug trafficking operation, with a 4 level downward departure to a final

16   offense level of 15, CHC I, and a final guideline range of 18-24 months.

17                A. 3553(a) Factors
18                 With the advent of U.S. v. Booker, 125 U.S. 738 (2005), the Court was finally restored with

19   the power to sentence as it sees fit within the statutory framework of 18 U.S.C. § 3553(a). The

20   restoration of this power gives the Court real discretion to fashion a sentence “sufficient but not greater

21   than necessary” to achieve the purpose of sentencing set forth in 18 U.S.C.§3553(a)(2) after considering:

22                (1) the nature and circumstances of the offense and the history and characteristics of the

23   defendant [§3553(a)(1)];

24                (2) the need to reflect the seriousness of the offense, respect for the law, deterrence to

25   criminal conduct, and protection of the public [§3553(a)(2)(A)-(C)]

26                (3) the kinds of sentences available [§3553(a)(3)];


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 1                (4) the advisory – but non-mandatory – Sentencing Guidelines [§3553(a)(4) and (a)(5)];

 2                (5) the need to avoid unwarranted sentencing disparity among defendants with similar

 3   records and similar conduct [§3553(a)(6)]; and

 4                (6) the need to provide restitution to any victim of the offense [§3553(a)(7)].

 5                In this case, the Court must choose the minimally sufficient sentence to fulfill the purposes

 6   of sentencing based on a consideration of all §3553(a) factors. Kimbrough v. U.S., 128 S.Ct. 558, 570

 7   (2007). The Supreme Court has also rejected the notion that a sentence that amounts to a substantial

 8   variance from the Guidelines needs to be justified by extraordinary circumstances, holding instead that

 9   appellate courts must review all sentences, both within and without the Guidelines range, under a

10   differential abuse of discretion standard. Gall v. United States, 552 U.S. 38, 128 S.Ct. 586, 591 (2007).

11                Two subsequent Supreme Court decisions, Spears v. United States, 555 U.S. 261(2009)

12   and Nelson v. United States, 555 U.S. 350 (2009), have reiterated that the Guidelines are now truly

13   advisory and that there is no presumption at the district court level that a Guidelines sentence is

14   inherently reasonable. As stated by the Seventh Circuit, "[t]he district courts must calculate the advisory

15   sentencing guideline range accurately, so that they can derive whatever insight the guidelines have to

16   offer, but ultimately they must sentence based on 18 U.S.C. § 3553(a) without any thumb on the scale

17   favoring a guideline sentence." United States v. Sachsenmaier, 49l F.3d 680, 685 (7th Cir.2007).
18                 Gustavo is one of dozens of Hondurans swept up by the government in a year long

19   investigation. Thousands of phone calls were intercepted. The government has produced an enormous

20   amount discovery – in the range of tens of thousands of pages of investigation, phone calls, and wiretap

21   data. As the government notes in its sentencing brief, Gustavo appears in the original complaint in

22   paragraphs 93, 113, and 154. He only is requesting a small amount of drugs in paragraph 93. In

23   paragraph 113, Gustavo is asked if he wants any drugs, and Gustavo replies as “not until later”, when

24   Gustavo gets off work. In paragraph 154, two other higher level defendants are discussing Gustavo, and

25   say, essentially, that he will have to figure out how to pay the rent.

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 1                 From the vast amount of discovery and the complexity of the investigation, the government

 2   has a clear eyed view of inner workings and details of this DTO. Gustavo, with his occasional low level

 3   street dealing, is obviously a minimal participant in a much larger organization. Gustavo will also suffer

 4   obvious collateral consequences. He will be deported to Honduras and never be allowed to return to the

 5   United States, despite the fact that Honduras is one of the most dangerous countries in the world, ruled

 6   largely by gang violence. See, Jordan v. De George, 341 U.S. 223, 232 (1951)(Jackson, J.) (deportation

 7   is “a life sentence of banishment in addition to the punishment which a citizen would suffer from the

 8   identical acts.”).

 9                 Deportation is a form of banishment, one of the oldest forms of punishment in existence.

10   From the tale of Adam and Eve being thrown out of the Garden of Eden, to a defeated Napolean being

11   sent to the Isle of Elba, banishment has served as powerful deterrent throughout history. “Ostracism” was

12   used by the Ancient Greeks and Romans, where a capital defendant could choose to leave the country

13   forever. Justices in Georgia, Mississipi, Arkansas, Florida and Kentucky still have intra-state exile as

14   sentencing options. Clearly, Gustavo’s deportation should fairly be considered a serious “collateral

15   consequence”, as it is a punishment from which he can never escape.

16                 III.   Conclusion

17                 For the reasons set forth above, the Defendant Gustavo Gamez-Valesquez requests the
18   Court sentence him to time served. This will allow his immediate transfer to ICE custody, and his

19   banishment from the United States for as long as he shall live.

20                                                        HALLINAN & WINE

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22   DATED: March 5, 2020                                 /s/ Kenneth Wine
                                                          Kenneth H. Wine, Esq.
23                                                        Attorney for Defendant
                                                          GUSTAVO GAMEZ-VALESQUEZ
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